1 F.3d 1232
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Cary McKenzie BRIGMAN, Plaintiff-Appellant,v.Ronald GODWIN; Frank Coleman; Garland Holcomb; DonellPitman; Kathy Mercer; Mary E. Johnson; J. R. Hunt; James G.Martin; Governor; Aaron Johnson; Joseph L. Hamilton; Earl D.Beshears; G. W. Spears; J. J. Clark, Defendants-Appellees.
    No. 93-6210.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  July 16, 1993.Decided:  August 2, 1993.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Franklin T. Dupree, Jr., Senior District Judge.  (CA-91-295-5-D)
      Cary McKenzie Brigman, Appellant Pro Se.
      Jane Ray Garvey, OFFICE OF THE ATTORNEY GENERAL OF NORTH CAROLINA, Raleigh, North Carolina, for Appellees.
      E.D.N.C.
      AFFIRMED.
      Before NIEMEYER, HAMILTON, and WILLIAMS, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Cary McKenzie Brigman appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Brigman v. Godwin, No. CA-91-295-5-D (E.D.N.C. Dec. 8, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    